THE petitioner, Ben B. Lindsey, a former judge of the juvenile court of the City and County of Denver, asks to be reinstated as a member of the Colorado bar. He was disbarred by a judgment of this court. People v. Lindsey,86 Colo. 458, 283 Pac. 539. No petition for rehearing being filed, the disbarment became effective on December 26, 1929.
The unverified petition for reinstatement, filed here on February 14, 1933, is as follows: *Page 42 
"That he has at all times respected the decision which made it impossible for your petitioner to earn his livelihood in the State of Colorado, where he had spent his life since his boyhood, and accordingly he has never made any effort to practice law or to earn his living thereby in the State of Colorado since said decision.
"In the years that have followed the decision of this Honorable Court, your petitioner, by reason thereof, has been handicapped in the constructive and helpful service to society that he desires to render, and as considerable time has elapsed since the decision herein, he respectfully hopes and believes that your Honors will now find it consonant with the ends of justice to take action which will enable the petitioner to proceed in life freed from the restriction placed upon him occasioned by said decision.
"Your petitioner verily believes that your Honors should be able to find, in all the circumstances and from the long service of your petitioner in the Courts of Colorado, and to the cause of justice and humanity, sufficient merit to reinstate him on the roll of attorneys.
"He verily believes that such a ruling, restoring him to the Bar of the State that he has served and loved, would comport with substantial justice."
A formal hearing on the above petition was had in open court before all the justices. Attorneys James H. Pershing, Morrison Shafroth and Philip Hornbein, and Attorney General Paul P. Prosser argued in favor of reinstatement; former Deputy Attorney General George A. Crowder, who entered his appearance on behalf of the Colorado Bar Association, and Miss Mary F. Lathrop, who appeared for the Denver Bar Association, argued in opposition.
It was urged by counsel for the petitioner that he has been sufficiently punished and that the court in the exercise of mercy ought to readmit him to the legal practice in Colorado. Such an appeal for mercy is at all times *Page 43 
worthy of careful consideration. It would probably have been received with sympathy now had it not been for the conduct and attitude of the petitioner himself since his disbarment.
It is admitted that in February, 1931, the petitioner and a collaborator who was not of Colorado wrote and published a book containing most unbridled and venomous language denouncing those members of this court who took part in the disbarment proceedings of 1929. It is to the credit of the petitioner's attorneys that not one of them tried to justify or excuse this intemperate attack; some of them unhesitatingly expressed their personal disapproval of what they conceded to be outside the realm of that fair criticism of public officers which under our Constitution and laws is the undoubted right of every citizen. A copy of the book is before us.
The writer of this opinion has been a member of the court only a few months. He has personally known the petitioner for more than 35 years, and at the hearing was listening hopefully — but listened in vain — for some expression of sorrow or evidence of regret by or on behalf of the petitioner in extenuation of the unseemly tirade which had been broadcast in the land. If the writer hereof should believe for a moment these untruthful and unretracted charges against those who are now his colleagues on this bench he could not in ordinary honesty or decency remain in association with them. The majority of the court, including the writer, cannot conscientiously grant the petition so long as those charges stand without a manly apology such as one worthy of readmission to active membership in the legal profession would be willing and anxious to make. The mercy invoked for the petitioner is for those who freely confess and sincerely repudiate the wrong they have done. By his failure to meet that reasonable test the petitioner has disentitled himself to readmission at this time. Neither mercy nor justice would be lawfully served by *Page 44 
now restoring him as an officer of the court which he has so recklessly maligned.
The petition for reinstatement is denied.
MR. JUSTICE BUTLER and MR. JUSTICE HILLIARD dissent.